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                                                                       of 4IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON



                                                                  May 03, 2022
                                                                      SEAN F. MCAVOY, CLERK
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